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                                        �CUD 01 Jll 'c.'lJ 00:48!..ISOC·iRP



 1
     Jose Castaneda, aka James Blume USMC, Per Crt Order        FILE UPON DEMAND
 2   596 Douglas Street                    Judge Daniel Buckley PER US CONSTITUTION
     Pasadena., CA 91102
 3   (626)314-9218 kasta626@gmail.com

 4
                                   IN THE FEDERAL DISTRIC COURT
 5

 6                                 FOR THE STATE OF OREGON
                                               CASE NO: 3:20-cv-1057-SI
 7
     JAMES BLUME ,JOSE CASTANEDA                          COMPLAINT FOR CIVIL RIGHTS
 8   et al, individuals with others and on                1. "INTENTIONAL" VIOLATION
     behalf of the People of T he State of                OF RIGHTS;
 9
     California similarly situated, as they               2. CHAIN OF CUSTODY TAINTED
10   continued to be abused by the Los                    BY COURT;
     Angeles Superior Court System and                    3. ALLOWED PERJURY FOR
ll
     its corrupt Judges! e.g. DeVanon,                    PROFIT BY ATTORNEYS;
                                                          4. VIOLATION DUE PROCESS OF
12
     Miller Drewry & Hickok (Requesting
        •   I
                                                          PLAINTIFFS;
     Whistle-Blower status & protection
                                           •

l3
                                                          5. EXTRINSIC FRAUD ON THE
     requested, and the reward by law.                    COURT BYALL DEFENDANTS;
14

                   Plaintiff,                             6. VIOLATION OF 42 U.S. CODE
15
                                                          SECTION 1983,42 U.S CODE;
16                 Vs.                                    SECTION 1981, 42 U.S. CODE;
                                                          SECTION 1985;
17                                                        7. JUDICIAL CONSPIRACY;
     STATE OF CA, C.O.L. A., CITY OF L.A.,
10   L.AS.C., STATE BAR OF CA. Mag. Judge                  8. TITLE 18,241 & 242;
     STEVE KIM, Disbarred Atty. Jack K.                   CONSPIRACY TO VIOLATE CIVIL
19
     CONWAY, JAN W. ANDERSON, Et Al;                      RIGHTS by JUDICIAL PREJUDICE
20                                                        & DISCRIMINATION;
     Real Party in Interest: JUDGE HJCKOK,
21   COMM. DREWRY,JUDGE MILLER,            9. JUDICIAL FACILITATION,
     JUDGE DEVANON, SAM PAZ, SONIA         Penal Code 653 (f): SOLICITATION
22
     MERCADO, LISA MACCARLEY, EMAHN        OF JUDGE JOSEPH FRANCIS
23   COUNTS, SEVAG NIGOGHOSIAN, GREG       DEVANON "Let me get some", Code
     BLAIR, SARAH OVERTON, ROBERT          of Conduct Canon 4 (D)(l) "Financial
24
     FELTON, STEPHEN RYKOFF, ROBERT        Activities","He never contacted the
25   GOMEZ, DAVID A XAVIER MICHAEL         courf', in Case GC042105;
     FLANAGAN, WAYNE BOEHLE, OSCAR
26   ACOSTA AND CHASE BANK Et Al           JURY TRIAL DEMANDED
                   Defendants.
27
           TO ALL PARTY(S) STATE AND FEDERAL AND THEIR ATTORNEY OF RECORD
28
     AND THIS HONORABLE FEDERAL OREGON COURT:

            OREGON COMPLAINT !'OR Crvl:L lUGBTS, FINANCUL ELDER ABUSE OF FELICITAS Page 1 o� 24
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     TO ALL COURT (S) STATE, FEDERAL, AND TO ALL INTERESTED PARTIES AND THEIR
 1
     ATTORNEY OF RECORD, (hereinafter referred to individuaJJy and collectively as ''PLAINTIFF" or
2
     "PLAINTIFFS") "WHISTLEBLOWERS" Complains, Claims and makes Formal Charges against
 3
     Defendant(s), ESTATE OF ROBERT BERKE, decedent, and DOES 1 through 100, (hereinafter
 4
     referred to individually and collectively as "Defendant'' or ''Defendants") as follows:
 5
            l.        At all times herein mentioned, Plaintiffs, JOSE CASTANEDA, aka, JAMES BLUME
 6   USMC, "Whistleblowers" at all times relevant herein reside in th.e CoWlty of Los Angeles, California.
 7          2.        Plaintiffs are informed, believe, and know thereon and Complain, Claims and formal
 a   Charges the following that at all times relevant therein Defendants THE LAW FIRM OF ROBERT

 9   BERKE Et Al, THE ESTATE OF ROBERT BERKE Et Al and DOES 1 through 100 were individuals

10
     residing in the County of Los Angeles, California.
            3.        Plaintiffs do not know of the true names and capacities, whether individual, corporate or
11
     otherwise of the Defendants sued herein as DOES I through 100. Plaintiff therefore sues as said
12
     Defendant by such fictitious names. Plaintiff will amend this complaint to allege the true names and
13
     capacities of each of these Defendants when the same has been ascertained. Plaintiff is informed and
14
     believes, and thereon alleges, that each of the Defendants sued herein as a "DOE" is in some manner
15
     responsible for the events and occurrences alleged herein and that the damages alleged herein are the
16   proximate result of such an "Outrageous" Conduct that is Criminal in Civil Proceedings, with a
17   Judicial Conspiracy to Steal from cases with the intent to commit fraud and judicial theft by selling of
18   judicial decisions, ruling and verdicts by what the people deem as the Judicial Mafia. The series of

19   Judicial Tactic of tampering with evidence, cases, and our rights to engineer, design, and construct a

20
     Predictive, Purchased, and Discriminatory Verdict or Decisions from the courts [is] illegal. All the
     named Defendants and Doe Defendants are herein collectively and individually referred to as
21
     ''Defendants" who intentionally violated my rights; to lose my case(s), before the case was even Filed!
22
     And, I object!
23
            4.        Plaintiffs is informed, knows, and believes, herein and thereon alleges and charges that
24
     each of the Defendants was acting "IN CONCERT'' [or] in a Coordinated as agent, partner, employee,
25
     associate, or even a joint venture's of each of the other Defendants to profit off my cases, and at all
26   times herein alleged and charges, was acting illegaJly within the course and scope of said agency
27   illegally, in an illegal partnership, and under the employment and joint venture to steal from cases, and
28   with the knowledge, authorization, and ratification of each of the other Defendants for Judicial and


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     Administrative Profiteering for personal, promotional, or financial gain. And, I object as I become a
 1
     "Judicial Whistle Blower" of Court Corruption along with Officer James Blume USMC!
 2
                                  FIRST CAUSE OF ACTION AND CHARGE
 3
         "A JUDICIAL SYSTEM WAS DEVELOPED" TO INTENTIONALLY VIOLATE THE
 4       CML RIGHTS OF THE PEOPLE TO USE OUR COURTS, OR USE IT CORRECTLY
         BY (THE SELLING OF DECISIONS TO COME TO A PREDICTIVE OR PURCHASE
 5
         VERDICT USING EXTREME PREJUDICE)
 6   THE CLAIM, COMPLAINT, AND CHARGES AGAINST ALL DEFENDANTS ARE AS

 7
     FOLLOWS:
            5.       Plaintiff incorporates paragraph 1 through 4 of this complaint as if fully set forth herein.
 8
            6.       At all times herein mentioned, ALL Defendants were administered and took an "Oath of
 9
     Office" to defend and protect the CONSTITUTION OF THE UNITED STATES; but failed to do so
10
     for promotional and financial gain to receive a bribe violating Public Policy. It's so bad, I'm also
11
     charging the courts with Judicial Treason! For proof. Why are Judicial Criminalized Acts allowed in
12
     civil Proceeding? And, I object!
13          7.       On or about January 13, 2009 Plaintiff JOSE CASTANEDA appeared at the Los
14   Angeles Superior Court where a JudiciaJ Conspiracy, (a violation of Cal Penal Code 182,
1s   Conspiracy) in Department "76", was allowed for a Judicial Bribe (In violation Penal Code 67 & 68

16   Bribery) in Case BC 118244, with Atty. Sonia Maria Mercado v. Jose Castaneda and also the

17
     Plaintiff, Complainant, and a Whistle Blower in this case, and was told nothing about Attorneys Ivan
     Shomer or Robert Berke, or who they were representing. Your Honor, Full Disclosure with
18
     Transparency was NEVER maintained in [any] of my case(s) to [RIP ME OFF]. (For proof, and to
19
     verify this illegal act; of my daim, complaint, and charges, there was no MC-50 form,
20
     Representation form filed to the court/) I had contracted the Law Firm of Jack K. Conway
21
     (Disbarred) to represent me; but this person did not show up, as the court allow this illegal Judicial
22
     Act to violated my rights and lose my Case(s), which violated my Rights to also a Fair Hearing under
23   the 14th Amendment! (Violation of Title 18, 241 & 242, Conspiracy; due to a bribe in coordination
24   to the Bench Trial) At the Hearing in Dept. 76, at or around 9:05 am, these two attorneys Shomer and
25   Berke, whom I NEVER met in my life, went into Judge's Chambers to represent me with

26   Commissioner Drewry, and Atty. R Samuel Paz who apparently arranged this Judicial Scam, in a deaJ

27
     that was made without my consent, as needed and as required and prescribed by law; ' in that" he, my
     [own] Attorney MUST consult me prior to the Hearing. Instead the parties went in "chambers" and
28



           OREGON COMPLAINT FOR CIVIL RlGH'l'S , FINANCIAL ELDER ABUSE OF FELICITAS Page 3 of 24
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     then illegally "agreed" to [Continued] the matter which became a Judicial Conspiracy, to the February
 1
     4, 2009, on the "Condition" that the TRO be issued. Objection; Why? I was being falsely set up, and
 2
     now accused of Stalking by Attorney Sonia Mercado with false, made up, concocted, fabricated
 3
     allegations to get a [fake] TRO proven by my employer; when I was at work! For proof, [I]F I was
 4
     Stalking her, why didn't she call the Police? I later found out later, that this was due to engineer my
 5
     downfall to receive ill-gotten gains and set me up to lose my case(s) to extort me for more money from
 6   my estate for a couple of years by filing documents not needed or relevant to my case. The Attorney
 7   was "Papering the Court" for more money! After I obtained the Court Minutes for that Hearing, I
 a   learned that Robert Berke was representing me, and Ivan Shomer appeared for Jack Conway. I object!

 9   Evidence does not lie, people do! [See Court Minutes and Court Transcripts for evidence that an

10
     Extrinsic Fraud took place by all officers of the Court at Bearing for Dept. 76)

11
     In order to steal from my Estate, ALL Attorneys conspired to create a fake TRO, to create more
12
     work, and make more money, which after a bribe, was now granted illegally, but now granted
13
     on a lie to steal in my cases; and can be proven by the Court's Docket with a "Substitution of
14
     Attorney" form, (MC-50) "that" was not filed as required and prescribed by law, which violated
15
     my rights. The (MC-50, form was sabotaged to charge me more money! Attorney Paz and
16   Mercado started a series of lies that wiJl prove a conspiracy was in place to deny Jose Castaneda
17   the Right to "Due Process under the 14 th Amendment"; and then to deny Jose Castaneda to
18   present ALL evidence at trial or hearing to engineer a Predictive and Purchased decision by the
19   court. This was a simple case that has turned into a nightmare for financial gain that plunders

20
     my assets from my case(s) which becomes Judicial Theft; but by setting me up with unnecessary
     legal fees I NEVER needed!
21
     For additional proof that Judicial Fraud took place are the statements by Atty Samuel Paz when
22
     he lies by stating: "HE FORCED OUR HAND, WE JUST DID WHAT WE HAD TO DO TO GET
23
     THIS ORDER" [See Rff of April 13, 2009, Page 5, Lines 4, 5) and Sonia Maria Mercado, as
24
     stated in a related matter: "APPARENTLY, LUIS HAD LEFT MILLIONS IN HIS ESTATE
25
     FROM AN ANNUITY FROM A PREVIOUS ACCIDENT WHICH LEFT HIM MENTALLY
26   DISABLED"
27   [See Declaration of Atty. Sonia Mercado file 12-3-08 in Case GP013952 Estate of Castaneda)
28          8.      The Mercado v. Castaneda [BC402096] and The Ramirez v. Castaneda [GC042105]


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     the case{s) filed by Attorney Mercado and Attorney MacCarley on 12-17-08 and 1-09-09, respectively,
 1
     were set up to be grossly mismanaged; to get more fees using Judicial Theft from Estate that
 2
     borderlines criminal activity in Civil Proceedings causing Jose Castaneda great emotional pain,
 3
     suffering, and great economical loss and irreparable harm to his Civil Rights and Freedom of Speech.
 4
     This was an unjust decision as I lost these cases by a [FAKE] Default because all attorneys involved
 5
     steer and manipulate the proceedings in the case in one direction to find guilty of an engineered
 6   "Default", a fake and then a created charge of Stalking with no evidence of a Police Report to prove it
 7   was a lie, and fine me or charge me for things I did not do, as the legal services stared to add up! And,
 0   the courts allowed this?   Jose Castaneda, to keep me silent for Whistle Blowing" as I realized what

 9   was happening to me and my cases, that next, I was now set up for a fake and fraudulent "Sanction"

10
     for almost a Million Dollar, which becomes a Miscarriage of Justice that violates my I st,• 6th , 8th· and
     14th amendment rights, and Civil Rights, which also silences my Freedom of Speech, to have
11
     Compulsory Process for obtaining witnesses in his/my favor. I was never allowed to present all
12
     evidence of how my 85-year-old mother was financially and mentally abuse by her own family and
13
     assisted by attorney Sonia Maria Mercado "In Concert'' with alJ the Defendants; for Financial Gain!
14
     Felicitas Castaneda was being taken to the Cleaners and robbed of all her annuity and $400k settlement
15
     money! I, and my Family was being milked for Unjust Rewards and for Unjust Financial Gain in
16   Superior Court, based on a Judicial Bribe with lies when nothing was proven! If this is not true, why
17   did the court or Judge pay for my Representation to set me up with Attorneys he hired for me? Because
18   I never paid for Attorney Shomer or Berke, that were appointed by the court for their Representation!

19   For proof, how can Attorneys represent me without any money, or a contract for legal services the

20
     court ordered for me in my cases? This is how you know I was set up to fail and fail in my cases too!
     This is a Common "Practice" in the State of California after a Judicial Bribe was paid Judge as used in
21
     the State of California all the time to throw cases or purchase decisions from the Bench Trials! For
22
     proof, no Jury Trials are allowed for Mexicans, and in another related case I know of, Case BV028409,
23
     Appeals Court Justices P. McKay, P. J., Dymant J, & Justice Keosian, J, allowed another stranger to
24
     come in to the Appeals Courts to argue a case by James Blume, (USMC Honorable) and Of course, he
25
     lost his case too! Greta Cutis crune in and argued for James Blume in his case like mine, and he never
26   hired her, never had a contract, never paid her too! Just like my case! Greta Cutis, a stranger, who
27   knew nothing of Mr. Blume's case, started to argue his Appeals Court case too! The courts in
28   California use this Judicial Series of Tactic all the time for a "Kick-Back" for an Engineered Purchased


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     and Predictive Verdict by the court! This is the court' s Modus Operandi, Method Of Operation, or the
 1
     new Judicial Tactics used by the court for a Judicial Bribe to sabotage cases to lose, and we lose our
 2
     cases based on strangers appointed by the court to represent you which becomes Judicial Entrapment!
 3
     Isn't this a "Conflict of Interest" for the Judge to hire Legal Counsel for you to lose your cases?
 4
            9.      At all times Defendant Attorney Robert Berke had knowledge and was informed of the
 5
     true facts as to the case Mercado v. Castaneda. Attorney Robert Berke acknowledges this on page 6,
 6   Lines 5 - 10: "Mr. Berke there's no reason to dispute the facts because we're iust going to
 7   remove what there is." As an experience litigator in Civil Rights issues Mr. Berke knew in court that
 8   the YouTube website contained the Trial Court Proceedings of Testimony of Sonia Maria Mercado at

 9   2005 trial Jesus Castaneda v. Castaneda. My brothers were accusing of stealing millions from the

10
     Estate of my brother Luis Castaneda, who was murdered in County Jail in 1994. At trial, Atty Sonia
     Mercado could not "remember", "recall", and responded to many simple questions as "may have' s".
11
     Atty Robert Berke stating ''there is no reason to dispute the facts"? As a result of the agreement that
12
     was entered "illegally", I was deprived of my rights to exercise my freedom of speech and to share
13
     with the community at large HOW our judicial court system is "manipulated" "gamed" by all attorneys
14
     auguring their cases, after paying bribes to the court! And, I object!
15
            10.     The judicial suppression of the evidence and infonnation to "edited" court cases are
16   done to engineer your case to lose; and to the court in case BS 118244 and BC 402096, Mercado v.
17   Castaneda caused the Plaintiff in this matter, to be deceived and deprived of the knowledge of the true
18   facts surrounding Sonia Mercado' s involvement with Lisa MacCarley as they make a deal to prolong

19   the case for Financial Gain, and a fabricated false declaration of Susana Castaneda which is mentioned

20
     at court proceeding. The Law Firm of Lisa MacCarley and Associates in Glendale, practicing law are
     "Dirty'', and are disrespecting the court by lying and smoke-screening the truth because they were not
21
     forth coming or were Transparent! For proof, where is their evidence to support [any] of their false
22
     claims made in court! That is why I dislike this court that allows rumors and lies in as evidence! Why
23
     does Plaintiff have to suffer for their shortcomings and lack of character!? For proof, Plaintiff always
24
     proves his case by evidence or exhibits! The opposing party just lies, and then I lose my case without
25
     any evidence that was never supplied to the court! What is the going rate for a win or for me to win my
26   case by bribing the court? If I object, I am silenced! Because the court is !!!!! based on the truth or
27   evidence, just lies that come to an Attorney' s mouth at the time of trial to engineer verdict for profit,
28   and in a commission of a crime of perjury to win their case(s) ! Plaintiff wants the court to know that


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     he is proud of his ethics and character and would like to point out to the blind court that he always
 1
     "SUPPLIES" the court with evidence or legal documents to prove his case! What has the opposing
 2
     party supplied for any proof in court, or to verify anything that was said or stated to the court to be
 3
     truthful? Nothing because it was a lie! And I lost my case based on lies and false evidence on
 4
     statements and false declarations?
 5
            11.     At all times Defendant Robert Berke failed as an Attorney, failed to present all
 6   evidence, failed to apply the proper Rules of The Court, and the above describe facts to Plaintiffs,
 7   which is the same to withhold his rights for a purchased decision and illegal decision. He, Atty Robert
 e   Berke deliberately ' Withheld", " Suppressed", and "Concealed" information, rights, and fairness to the

 9   court that he, Robert Berke knew that these facts existed and did not disclose these facts to the coun,

10
     but failed to recognized or present these sets of evidence, facts, and relevant information for a judicial
     bribe, and a chance that he can make more money doing the corrections on an Appeal. He never came
11
     to court with "Open & Clean Hands"; and sabotaged all my cases! He deliberately concealed the truth,
12
     evidence, and knowledge from Plaintiff and further knew that these facts that were not disclosed to
13
     Plaintiff as required by law because he knew it would hurt the party that purchased his decision or the
14
     case from the bench! For proof, and to verify my claims, complaint, and charges; evidence was
15
     tampered with, withheld, tainted, and was not disclosed, for a predictive verdict with sets of judicial
16   tactics hurt my case to lose. The trial was so one-sided, it was criminal! For proof, where are my six
17   million dollars as stated in court transcripts that went missing and NEVER ordered to return the
18   money? Plaintiff feels that if opposing party had any ethics, and fully disclosed the proper information,

19   that I could been able in time to reasonably discover this "vital" information to help his side of the

20
     case. But full disclosure was withheld! Because Plaintiff is not an Attorney, lack' s experience,
     knowledge, and courtroom education in legal matters, and was unable to properly investigate the true
21
     outcome of his case. I was sabotaged to lose, set up for failure unjustly and was taken advantage of.
22
     Without proper outside legal assistance, the people are doomed or set up for failure. This violates the
23
     Constitution, and my right to a fair trial. I receive no equal protection, equal treatment, or equal rights.
24
     This in itself is morally and unethically a real problem with the courts today. There should be a
25
     "Citizen's Bill of Rights" to use the courts, protect the people from this dirty and unbalanced Judicial
26   System, that is so one-sided, its criminal conduct that was designed to steal from the people!
27          12.     Defendant Atty ROBERT BERKE knew that be can be Jess than truthful to the Plaintiff
28   in this matter for financial gain, and inability to find the outcome, information, and legal


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     documentation that he needed, was deprived and withheld from him, and even took full advantage of
 1
     this fact in an attempt to defraud Plaintiff. He never asked for the information, evidence, or when the
 2
     opposing party lied, he never asked for a " Clarification Hearing"! So much for full disclosure and a
 3
     fair trial! How can I even participate, when the rules, evidence, and exhibits are withheld so a person
 4
     can cheat to win! Atty Robert Berke statements on record are proof that the court never reviewed the
 5
     filings on record: "In fact, I understand that and I'm sure that the parties do. So, this not an
 6   admission on your part of which factual version of the events are correct. but this iust says Jet's
 7   remove what we have, let's not have the future stuff."
 e   [R/T Hearing with Stipulation signed by Attorney Paz, Conway, and Berke on February 2, 2009,

 9   or two days prior to the Hearing. This proves that it was a conspiracy to deny me and set me up
     BY my own attorney, without evidence, as be strikes a deal to plead me guilty) So why did Robert
     Berke not appear at the other case, this proves that Berke did not want to be involved in this Judicial
11
     Conspiracy and Scam that I lost because it was a case of Free Speech? Why come to court if the Judge
12
     wants to see what he wants to see for a judicial bribe, to extreme prejudice! For proof, when I lost on
13
     my "Free Speech" case, no damages were presented, opposing party never asked for compensation, but
14
     yet it was given as a "Pay-Off", and the Judge allowed almost a million dollars in sanctions? And;
15
     Without any damages? My brother was ki11ed in jail, and my family received $400,000.00! But I was
16   sanctioned almost a million dollars for a free Speech case? Look at the award of damages on both
17   cases! This is how you know it was a Pay-off! The court is supposed to see "ALL" the evidence, not
18   look the other way for financial gain! "The court: I understand there is a settlement. I have before

19   me proposed order enjoining Jose Castaneda from harassment" This was a purchased TRO to

20
     receive a pay-offl The Court was bribed, as proved from the cases above where "Sentencing
     Guidelines" were also ignored! This is how you know it was a judicial pay-offl Because, how can a
21
     case of opinions be worth a million dollars with no damages and a death case be worth only
22
     $400,000.00 dollars! This is how you know the court was in on this conspiracy to sell decisions for a
23
     bribe!
24
              13.    Defendant, Judge Robert Berke indeed interfered with Plaintiffs' rights, and also
25
     interfered with plaintiff's attorney-client privileges. Berke displayed obvious bias toward a plaintiff in
26   his court and engineered in handling evidence against Jose Castaneda's case to lose, as in all my
27   request of the court is always . .. denied!, denied! , denied! , denied! Robert Berke_abused his position,
28   his office, his power, and authority; which he was, and became an obstruction of justice. "Judicial


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     Perjury" was allowed for his share of the bribe money, stating and the filing a false document by Sonia
 1
     Mercado to give her a win after a bribe was paid. For proof, I challenged the evidence, but was
 2
     ignored! Our legal system is based on the fundamental principle that our courts are an independent
 3
     branch of government in which fair and competent judges interpret and apply the laws that govern us
 4
     through Stare Decisis, and not bribes paid to the bench. Defendants Drewry and Miller failed by
 5
     showing their bias and prejudice against Plaintiff Jose Castaneda in ALL decisions at Trial and Court
 6   Proceedings that was based        on storytelling by Mercado, Paz, Conway and Berke, this was a
 7   Courthouse was "Out of Control" !
 8                                  SECOND CAUSE OF ACTION

 9             "SABOTAGING EVIDENCE" BY FAILING TO KEEP "CHAIN OF CUSTODY" BY

10
               THE COURT TO ASSIST ATIY LISA MACCARELY FOR A BRIBE TO WIN HER
               CASE
11
                                    (AGAINST ALL DEFENDANTS)
12
               14.    Plaintiff incorporates paragraphs 1 through 13 of this complaint as if fully set forth
13
     herein.
14
               15.    On or about December 17, 2008, Plaintiff evidence that had been provided in a list in a
15
     letter of as a contract "agreement" was also signed with the Law Office Jack K. Conway; Now
16   Disbarred with evidence that was to have been entered with the court, but was withheld by Defendant
17   Jack Conway for a bribe and greed; proven by his Disbarment! Plaintiff had an abundance of evidence
18   to reach a favorable verdict in each and all of his cases; but lost because it was submitted into the court

19   as evidence; I lost the Case! I object. But Defendants for a judicial bribe (Penal Code 67 & 68)

20   INTENTIONALLY IGNORED ALL EVIDENCE ON FILE TO ASSIST ATTY SONIA MERCADO
     IN THIS CASE THAT WAS IN REALITY ABOUT MY FREE SPEECH, AND A RIGHT TO MY
21
     OPINIONS! Plus, the Court did      OT want me to disclose how to [rig] cases to lose!
22
               16.    Defendant, Atty Jack K. Conway (Now disba"ed) had knowledge and was provided
23
     with evidence in the matter Felicitas Castaneda v. Atty Sonia Mercado that was held in Department
24
     "S" at Pasadena Superior Court in 2006; that' s now closed to certain cases. The main Cause of Action
25
     and the central issue was the discovery of an " investment" made at Atty Sonia Mercado' s bank that
26   was made with monies from a settlement of Felicitas Castaneda which she NEVER received, and was
27   supposed to be in her bank account? It has been in an alleged that 85 year-old senior citizen managed
28   this [fake] "investment" made by her Attorneys Bank that was claimed Ms. Castaneda made over


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     several ''telephonic withdrawals", that can't speak English, which [is] impossible and did not even
 1
     know what an investment was, and never made any investment in her life? Does this make any sense
 2
     when the money went missing at her Attorneys [own] Bank? And the court did not pursue this matter
 3
     of an investment claimed by an 85-year-old lady, under heavy medication, slowly dying of cancer,
 4
     calling banks to make telephonic withdraws in [only] Spanish without verifying her identity when the
 5
     money went missing? Why?
 6          17.     Defendant, Judge RITA "SUNNY" MILLER fails to recuse herself because the Judge
 7   knew the Parties, and should step down, or step aside from this lawsuit which violates my rights. When
 8   I discovered that [now] Defendant Judge Miller and Defendant Atty Paz had a "Conflict of Interest"

 9   issue in that they both participated in Loyola Law School symposium years earlier and should have

10
     disclosed this information. By law and under Ethics, the Judge should have recused themselves when
     they knew the parties in her court. It was clear and evident that the decisions made by Judge Rita
11
     Miller were tainted, bias, and since she was not impartial, her decision is tainted, and it is in clear
12
     violation of the "Fruit of the Poisonous Tree Doctrine" for not being forthcoming and Transparent! If
13
     this is not true, why wasn't this affair placed out into the open, when court was in secession and
14
     disclosed as required and prescribed by law? And why wasn't this disclosed to [all] parties in court,
15
     prior to the start of my trial; to prove I was being Judicially Screwed? I realized I lost, before the case
16   was even started!!!
17           This inaction to recuse herself by Judge Rita Miller and sudden having "Judicial Memory
18   Loss", "Judicial Blindness"; and to set Plaintiff in a "Position of Compromise" to sabotage his case

19   and sent my case in a spiral set(s) of events which included the filings by Counsel for The Ramirez,

20
     Lisa Marie MacCarley, Defendant in this action, Such as) The Declaration of Susana Castaneda of a
     visit on January 4, 2008 of ''visiting" Felicitas Castaneda at a Hospital; when she was not at hospital,
21
     but was executing her last will and Testament. 2) The Declaration of Gonzalo Castaneda, a Mexican-
22
      ational that bas deportations proceeding by INS/ICE My brother, Gonzalo Castaneda DOES NOT
23
     SPEAK, WRITE OR READ ENGLISH TOO. Plaintiff informed Defendant Judge RITA "SUNNY''
24
     MILLER of the fictitious and unreliable accounts of both Declarations based on a lie, fraud, and
25
     misrepresentations to the courts to commit judicial fraud, but to steal from my cases. The court chose
26   to ignore this false information, suppress and act on Plaintiff's claim to the detriment of his case, based
27   on judicial prejudice, judicial discrimination, and hatred for "Whistle Blowing" on the Judicial
28   Corruption in this Courthouse for selling decisions from the bench; verified by closing down the


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     Pasadena Courthouse of all its functions; except for Evictions and light cases! For proof, the Judge
 1
     violated my rights when I was sentenced almost a million dollars, by-passing Sentencing Guidelines
 2
     laid down by the State of California for a Judicial Bribe.
 3
            18.     Defendant, another dirty Judge . .. Judge JOSEPH F. DEVANON ignores and states on
 4
     record at Trial ON PAGE 61, LINES 10 - 12: "THE COURT: LET'S GET TO THE LAST
 5
     QUESTION, MR.. CASTANEDA. WE ARE GOING TO TAKE A BREAK. WE'RE ON A FISHING
 6   EXPEDITION" This "Fishing Expedition comment was made by Judge DeVanon, as I was
 7   questioning and getting to the truth of Evelyn Christina Ramirez that lies about her testimony of the
 8   $112,000.00 dollars that suddenly "disappeared" from Felicitas Castaneda's bank account in a transfer

 9   of an amount of $25,000.00 dollars made to a [fake] of to "make an investment'' for Felicitas

10   Castaneda. (Why was an investment even made for my mother when we have no knowledge of making
     investments?) Plaintiff Jose Castaneda presented this evidence at trial. Judge DeVanon interfered,
11
     obstructed, and intentionally disrupted my line of questioning and fact finding in court.       For an
12
     "Impartial" Judge, he always sabotages my questioning every time for a Judicial Bribe, when I realized
13
     the money that was embezzled from the estate! This was an important part of court trial as Evelyn
14
     Ramirez ADMITS that an "investment" is still in some account that belongs to the Estate of Felicitas
15
     Castaneda; that no one made and didn't know how?
16          19.     Defendant, Charles Chuck fails to supervise ALL Court Clerk as they manipulate,
17   destroy, refuse the evidence and do not maintain the "Chain of Custody", as they were paid to destroy
18   the case file, in case GC 042105, which includes the filing of an MC-50 that causes the violation of

19   Jose Castaneda' s Civil Rights to NOT have legal representation at trial, but was never allowed to have

20   my Representation present as required and prescribed by law to help sabotage my case to make more
     money for the Attorneys! For proof and to verify this statement, where are ALL exhibits presented at
21
     Trial by Jose Castaneda that was stolen by the court to lose my cases? Who in their right mind comes
22
     to "ANY" trial in the whole United States, and never bas any evidence; or your Evidence disappears?
23
     Does this make any sense? Not one exhibit, receipt, contact, taped recorded message, witness, pictures,
24
     etc. Supervising Judge Thornton claimed it was a "clerk' s error" when in fact 8 documents ''went"
25
     missing from the file GC045202 to be later re-inserted when case was brought before Judge Stewart at
26   the Burbank Court, who in a clear abuse of discretion "threw" Castaneda' s pleading in his direction
27   after Disbarment of Conway. "Take this garbage out of my courtroom " Officer Blume witness it alL
28                                 THIRD CAUSE OF ACTION


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                             PERJURY BY AN OFFICER OF COURT
 1
                                  (AGAINST ALL DEFENDANTS)
 2             20.    Plaintiff incorporates paragraphs 1 through 19 of this complaint as if fully set forth

 3
     herein.
               21 .   Defendant, Judge JOSEPH F. DEVANON allows Attorney Lisa MacCarley to stipulate
 4
     at Trial on February 22, 2010 the following: "/ WAS NOT REPRESENTING MISS RAMIREZ AT
 5
     THE TIME, SO OBJECTING ON THAT GROUND." The Court will take Judicial Notice of
 6
     evidence presented at trial that was suppressed ' intentionally" to assist Atty Lisa MacCarley that was
 7
     made reference to this issue on Page 67 and 68, of a letter of Lisa MacCarley sent to Atty Chad T-W
 8
     Pratt "settling" a prior case for a Quiet Title, Conversion, and Fraud. It contains the following
 9
     statement or an admission of "Guilt" because her clients stole from my mother's estate: "HAVING
10   SAID THAT MY CLIENTS WILL AGREE TO TRANSFERRING THEIR INTERESTS IN THE
11   REAL PROPERTY TO 1377 RUTAN WAY, PASADENA, IF THAT JS WHAT MRS. CASTANEDA
12   DESIRES." [SEE EXHBIT O             FILE GC 042105 Letter of Atty Lisa MacCarley to Atty Chad T-W

13   Pratt] Your Honor, they illegally took the property which is Grand Theft, under Cal. Penal Code 487,
     which is a Felony, and the court allows this Criminal Act in its presents without a D.A. Referral? I
14
     object! And, a crime committed in the court' s presents? What kind of Court is this? And then when
15
     they are caught, will the Perpetrators "Transfer'' the property back to the estate?     Who agrees to
16
     transfer's back property; if it is theirs? This proves it was Judicial Theft! This is also a confession,
17
     or admission of guilt! Your Honor, Atty MacCarley was involved to make more money when my
18
     family took the property and was never disciplined by the court for a bribe! For proof, my relatives are
19
     not that smart, and Atty MacCarley kept on making monies from my families stupidly constructively
20   stealing from the cases, by giving illegal and wrong legal advice to make more money as a Court
21   Appointed Thief who was an Attorney in the case! So, she could profit too, which is Solicitation under
22   Penal Code 653(f) by Atty MacCarley and the court! The court was involved because it never

23   corrected the situation and looked the other way for a bribe! If this is not true, why didn't the court
     order the correction and property to be returned to the rightful owners or the estate; that was NEVER
24
     DONE!
25
               The Court will further take Judicial Notice of the letter's subject as "Castaneda v. Castaneda
26
     Case No. GC 039459." When Atty Lisa Marie MacCarley stipulation on Page 68, Lines 2 and 3: "I
27
     WAS NOT REPRESENTING MISS RAMIREZ AT                      rms TIME. so OBJECTION ON THAT
28
     GROUND". This is NOT true, and another of many lies to the courts! This is Judicial B.S.! IF Lisa

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     MacCarley was not representing Miss Ramirez in this case, why is Atty. MacCarley sending this letter
 1
     to Atty Chad T-W Pratt "settling" the case by returning the property that was stolen and taken from
 2
     Mrs. Felicitas Castaneda illegally and a multiple checks for $5,000.00 of the $112,756.32 taken from
 3
     my own mother's account before her death of my mother Felicitas Castaneda? If Atty Lisa MacCarley
 4
     was not representing Miss Ramirez as she claims and states, in case GC 039459 Quiet Title, why did
 5
     Lisa MacCarley STIPULATED, AND "LIED" AND KNOWINGLY LIED TO THE COURT, by
 6   COMMITTING PERJURY AT TRIAL! DEVANON: "HE NEVER CONTACTED THE COURT"
 7   Meaning Attorney Emahn Counts. MACCARLEY: "I NEVER HEARD FROM HIM EITHER "
 a   Attorney Counts confirmed a Fax as MC50 was sent to MacCarley on 2-19-2010 at 9:40 am. She lied!
 9          And the court allows this type of negative and criminal behavior by one of its Officer of The

10
     Court; to get their cut of the Action? The Military tells its Supervisors to lead by example! In your
     court, you lead by example too, where the best Thief Wins! Because so far you allowed Theft,
11
     Embezzlement, and Perjury in your dirty courts; proven by closing them down in the Pasadena area!
12
     And the courts allow her to keep on lying in court? Why is this allowed? There is never any proof to
13
     verify anything as my evidence and Exhibits proves Atty McCarley is a Big Liar; and can't be trusted!
14
      othing is ever Certified or Verified by law; or even proven! And the Court allows this over and over,
15
     looking the other way for a Judicial Bribe! More theft and crime are committed in the Pasadena, LA
16   court oflaw than in a State Prison where all the Criminals are housed and kept!
17          22.    On November 15, 2007, Defendant Atty Lisa Marie MacCarley sends a Nurse Jim
18   Schneiders and Office worker Yolanda Rivero as "Translator" that is !!Q! certified by the courts to
19   translate, to hide her theft from my mother's account. Attorney MacCarley sends Nurse and Office

20
     worker to the Hospital bed at Huntington Hospital in an attempt to label Felicitas Castaneda as
     "insane" and "in need of a Conservatorship" to "invalidate" Felicitas Castaneda's Last Will and
21
     Testament executed on January 4, 2008. This was done to hide the fact they; MacCarley's Clients took
22
     monies illegally from my mother's bank account. This happened a month before all of Mrs.
23
     Castaneda's children suddenl a     eared after bein absent for ears since 2005 and never visited her
24
     until she was slowly passing away to take my mother's property and all her assets. This proves that
25
     Atty Lisa MacCarley had knowledge that Felicitas Castaneda did not speak, write, or read English; just
26   by the fact that Yolanda Rivero was sent to "translate" the questions presented illegally by      urse
27   Schneiders without her attorney Chad T-W Pratt who was NOT present at the illegal questioning, and
2a   without a certified translator as required by law! This proves the "Act" to commit Theft, and cover


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     their tracks of Embezzlement and Theft, because my mother was already under heavy medication, and
 1
     you send people to "Invalidate" my mother's own will on her death bed, slowly dying of cancer
 2
     without her Attorney present! How low can Attorney MacCarley get to steal from a person dying and
 3
     under heavy medication and making her sign legal document in English, right before her death when
 4
     she ONLY speaks Spanish! And this court allows this type of negative and criminal behavior, because
 5
     it never orders the property to be returned for a judicial bribe when the Judicial Theft occurred! Again,
 6   this is a reflection of the integrity of the court and its values. To steal from parties and ruin lives!
 7          23.     In case BC 402096, Atty Mercado v. Castaneda, Attorney JACK K. CONWAY
 8   (disbarred) and Atty LISA MARIE MACCARLEY "conspired" to Milk this case to steal all the assets

 9   by keeping the case in the court system for years for Personal and Financial Gain and to get Unjust

10
     Riches and Rewards. The Attorneys presented a [fake manufactured] declaration of Susana Castaneda
     of a fictitious visit to see mother at hospital when this declaration was a "creative" figment of Atty
11
     MacCarley imagination, and Attorney Lisa MacCarley, again, was involve~ again! For proof and to
12
     verify that Susana Castaneda, a.k.a. Susana Ramirez DOES NOT possess the skills necessary to write
13
     this declaration, let alone understand its contents, because she lacks the education and knowledge!
14
     Your Honor see the pattern from the Attorneys like Atty MacCarley. Attorney MacCartley then sends
15
     intentionally an uncertified translator to change my mother's will, when she starts stealing from her
16   clients who was under heavy medication in the Hospital, and now she is writing :fraudulent declarations
17   for my sister Susana Ramirez! Susana Ramirez signed this false declaration, steals from my mother's
18   estate, then to get assistance in covering the theft and plundering of monies from the Estate of Felicitas

19   Castaneda. Susana and brothers, with Atty MacCarley help and bad legal advice to commit theft, was

20
     so she could steal from my mother's bank account when she had my mother's bank account! Be
     advised, there are millions missing from the Estate of Felicitas Castaneda, as Attorney was behind the
21
     scenes manipulating my family to steal from my own mother, so she could take the money too, and
22
     then blame it on someone else! "APPARENTLY LUIS LEFT MILLIONS IN HIS ESTATE. .... ' Sonia
23
     Maria Mercado presented this lying statement to my brothers so she make more money and cover her
24
     theft from my mother's own bank account, who in turn sued me in 2003; when the trial was held in
25
     Department "P" based on a lie to cover Mercado's theft from my mother's account, and put and shift
26   the blame on me! She NEVER called the Police on me! Why, if she claimed I stole it! Over 300
27   exhibits were presented that proved I DID NOT "DEPLEATED" all these millions from the Estate, no
28   District Attorney Referral for prosecution was made, but the dumb Judge NEVER ordered the Money


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     returned; that the Attorney claimed I stole. I object; why if I stole it? Atty Sonia Mercado, like Atty
 1
     Jack K. Conway, (Disbarred) Atty Lisa MacCarley ARE all liars, co-conspirators, and perjurers in the
 2
     courts, and the court judges ignores the Judicial Theft for his cut of the money or his share of the bribe
 3
     because nothing is questioned or verified, and never ordered to return the property until it cleared
 4
     Probate Court! But, [if] the property was stolen; it can NEVER clear probate due to the Judicial Mafia!
 5
               24.   In Case GP 013952, attorney Sonia Maria Mercado files a declaration on December 3,
 6   2008 with the following statement: "I NEVER HAD ANYTfilNG TO DO WITH HOW MRS.
 7   CASTANEDA SPENT HER SETTLEMENT MONEY. HAD NO INVOLVEMENT WITH WHERE
 a   SHE INVESTED HER MONEY OR WHAT SHE DID WITH IT.,, [SEE DOCKET; yet it was done

 9   at Mercado's Bank located at 630 Figueroa Street and Law Offices at 777 S. Figueroa Street! !!]

10
               25.   In Case BS 118244, Atty Ivan Shomer stipulates on court Record on January 13, 2009:
     "MR. SHOMER: GOOD MORNING, YOUR HONOR. IVAN SHOMER STANDING IN FOR
11
     JACK CONWAY WHO WILL BE MR. CASTANEDA'S ATTORNEY OF RECORD." THEN Jack
12
     Conway stipulates on April 13, 2009: "IF WE LOOK AT THE ACTIVITY THAT HAS BEEN
13
     DONE IN THIS CASE. WE HAVE A TRO THAT WAS ISSUED ON JANUARY 13. 2009, THAT
14
     WAS BEFORE I WAS RETAINED. ON FEBRUARY 4rn. THE TRO WAS DISMISSED BEFORE
15
     EVID BY BOTH SIDED."            Atty Conway states to a question by Judge Miller as to when he was
16   retained for the case: MR CONWAY MR. CONWAY: YOUR HONOR. I WAS RETAINED FOR
17   Tms        PARTICULAR CASE TN THE EARLY PART OF FEBRUARY. FEBRUARY 2ND,
18   FEBRUARY 3RD.         The court Shall take Judicial Notice of the above statements by court officers as

19   steps arc needed to hold the above Officers that intentionally lied and fabricated statements to win their

20
     cases and escape their Fiduciary Duties when they repeatedly lied to Judge(s) Miller, Saito, Dodson.
                                    FOURTH CAUSE OF ACTION
21
                                     VIOLATION DUE PROCESS
22                                   (AGAINST ALL DEFENDANTS)
               26.   Plaintiff incorporates paragraphs 1 through 25 of this complaint as if fully set forth
23
     herein.
24
               27.   On or about February 22, 2010, Judge Joseph F. DeVanon REFUSE that the Law Firm
25
     of Emahn Counts represents Plaintiff in this case at trial for case GC 042105, in violation of Jose
26   Castaneda' s Civil Right to Due Process, representation, to come to a purchased and predictive verdict.
27   The conduct of Judge DeVanon to [guide] and (steer] cases to a purchased verdict violates his oath of
28   office to protect and defend the rights of Jose Castaneda, and his family! If he was an Honest Judge,


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     why did he not order the funds returned back to my mother, or at least warn the thieves in his court!
1
     Because he was one of them; and got a "Kickback" for selling his decsions! Your Honor, in the.
2
     Military, they state: "if' you are not part of the solution; you are a part of the problem! This is why this
 3
     case is so messed up, and now turns criminal!
 4
            28.     On or about December 17, 2008, Defendant JACK K. CONWAY was presented by
 5
     Plaintiff with a letter from Atty Sonia Mercado sent to an attorney Michael R. Sohigian, 10940
 6   Wilshire Blvd, Los Angeles, California 90024. Mr. Sohigian is the son to Judge Sohigian in the Los
 7   Angeles Superior Court. The letter stated as fact, and verifies the following on item 3):
 a           "THAT AT THE TIME I REPRESENTED MRS. CASTANEDA, SHE WAS AFRAID. IN FACT,
 9   DID JOSE TELL YOU THAT FOR AN ENTIRE YEAR, MRS. CASTANEDA WAS HOMELESS

10
     BECAUSE JOSE HAD "DEPLEATED" ALL THE FUNDS". [Court Docket GC 042105 filing as
     related case that judge Devanon; "intentionally ignored"] This was a lie! How can my mother be
11
     "Homeless", when the bank had her account of having over $ 150,000.00 dollars in her account!
12
     Another lie in court! My mother was "never" Homeless! For proof, if she was homeless, why didn t
13
     the Attorneys who made this statement in court; call the Police and Social Services by law! Because it
14
     was another lie in court! (See the pattern and practice)
15
            29.     Defendant JACK K. CONWAY was also presented with an Attachment from a
16   schedule of payments for annuity of Luis Castaneda. All the funds that Mrs. Atty Mercado makes
17   reference in letter were part of the Estate. (See Court Docket GC 0412105 filing as Related case that
18   Judge Devanon; "intentionally ignored" for a Kick-Back!]

19          30.     Defendant     Judge    JOSEPH      F.   DEVANON         DENIED       PLAINTIFFS        JOSE

20
     CASTANEDA AND FELICITAS CASTANEDA of Due Process rights, and fully knowing the facts of
     related cases. Now, he [is] no longer on the bench! (See the pattern of Disba"ed Attys; and now
21
     Judges in this easel)
22
            31.     Defendant JACK K. CONWAY, my former Attorney, who is presently being
23
     investigated by the State Bar of California in case 09 0 15781; and now Disbarred. The prosecutor
24
     Anthony Garcia will be completing his investigation in the next couple of months. Plaintiff will amend
25
     complaint to include facts of investigation to prove judicial corruption and when Plaintiff obtains entire
26   case and accounting. [See Case 09 0 15781] Defendant [Disbarred] Jack K. Conway, Lisa                Marie
27   MacCarley, Sonia Mercado, Samuel R. Paz, Emahn Counts intentionally violated the Cal. Bar's rule 5-
28   220, Suppression of Evidence.


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                     "A member shall not suppress any evidence that the member or the member's client has a legal
       1
           obligation to reveal or to produce. "
       2
                     32.    Defendant and disbarred Atty Jack K. Conway created and has in his possession TWO
       3
           contracts signed with Plaintiff. One contract dated January 4, 2008 and Second dated December 17,
       4
           2008. Which contract is the lie, because it is impossible to have two different contracts on the same
       5
           client! He, this diny Attorney that's disbarred created the second contract to fool and lie to the courts;
       6   to   escape his liability! And the court allows this criminal behavior in [now] what becomes a dirty
       7   court! This Shows, Displays, and now proves he is a liar and a thief, and show me any Attorney in the
       0   United States that has two contracts on the same client with different dates, to lie to the courts!

       9             33.    Defendant Atty and now disbarred Jack K. Conway KNOWNGLY gave false testimony

      10
           on May 8, 2009, as Judge Rita "Sunny" Miller Asked Mr. Conway, after Mr. Conway was placed
           under oath:
      11
                     PARTIAL TRANSCRIPTS OF MAY 8, 2009 IN DEPARTMENT 16
      12
                     COURT: YOUR DECLARATION, MR PAZ, HAS RAISED SOME QUESTIONS ABOUT
      13
           SOME THINGS, AND YOUR DECLARATION DOESN'T REALLY COVER SOME OF THE
      14
           THINGS THAT HE' S RAISED, SO FOR ME TO UNDERSTAND WHAT HAPPENED HERE, I
      15
           NEED TO ASK A COUPLE OF QUESTIONS.
      16                    JUDGE MILLER: "WHEN WERE YOU RETAINED FOR TIDS CASE?"
      17             MR. CONWAY: "YOUR HONOR, I WAS RETAINED FOR THIS PARTICULAR CASE IN
      18   THE EARLY PART OF FEBRUARY, FEBRUARY 2ND, FEBRUARY 3RD"

      19                    Your Honor, Judge in Oregon Court, IF Mr. Conway was retained on February 2,

      20
           February 3, and then WHO hired Attorney Ivan Shomer to appear for me case BC402096 on January
           13, 2009? Was it the Court or Disbarred Atty Conway who hired him? See the Judicial Corruption in
      21
           this courthouse, that becomes a Judicial Whorehouse proven by the shutting down of the Pasadena
      22
           Courthouse when the population is climbing in this area?
      23
                                           FIFTH CAUSE OF ACTION
      24                    EXTRINSIC FRAUD ON/BY THE COURT BY ALL DEFENDANTS TO DENY
                            JOSE CASTANEDA'S CIVIL RIGHTS
      25
                                            (AGAINST ALL DEFENDANTS)
      26             34.    Plaintiff incorporates paragraphs 1 through 33 of this complaint as if fully set forth

      27
           herein.
                     35.    At all times, all Defendants had possession of all evidence that included the statements
      28



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     created, fabricated, designed in our courts by all the attorneys in the above. The statement by Atty
 1
     Samuel R. Paz illustrates and proves that "illegal" activities took place as all attorneys "gamed" or
2
     "Conned" the conupt court system to obtain a predictive or purchased verdict $996,002.45 from the
3
     courts on an Entry of Default, and on a Free Speech Case?. Atty Samuel R. Paz stipulates: "HE
 4
     FORCED OUR HAND, WE JUST DID WHAT WE HAD TO DO TO GET HIS ORDER." Again,
 5
     this statement illustrates the actions by the attorneys mentioned in this lawsuit. Mr. Paz further states:
 6   "FIRST,      THERE NO         QUESTION      THAT THEY ARE              THE PREVAILING PARTY.
 7   ABSOLUTELY NO QUESTION. EVERYTHING WE ASKED FOR IN THE ORIGINAL
 a PETITION IS IN THE STIPULATION AND THE COURT'S SIGNED THE ORDER."
 9          36.     At all times, all Defendants and the Los Angeles Superior Court allowed Ivan Shomer

10
     to appear for me, without a contract, without payment, and without the REQUIRED MC-50 COURT
     FORM, to go into judge' s chambers, to strike a deal without ever consulting me his [own] client, and
11
     "settle" and continue a Related Case, BUT in Ramirez v. Castaneda, by the DEFENDANT JUDGE
12
     JOSEPH F. DEVANON whose off the Bench, That REFUSES THAT THE LAW FIRM OF EMAHN
13
     COUNTS REPRESENT JOSE CASTANEDA. Is this legal; and I object? If I hire an Attorney, can the
14
     court refuse my Representation as guarantee by the Constitution for "any" reason? It is clear, that the
15
     rules are not enforced of the following, that the Law is what the Justice presiding on the bench feels
16   the law is, after payment was made as a judicial bribe with extreme prejudice. Jose Castaneda NEVER
17   had a chance to fully conduct and exercise his rights at trial to confront disbarred attorney due to a
1B   bribe paid to the bench; but NEVER had a chance like Officers Blume's cases too. (See the pattern)

19                          SIXTH CAUSE OF ACTION

20
                     VIOLATION OF 42 U.S. CODE SECTION 1983 OF PLAINTIFF AGAINST
                    ALL DEFENDANTS, ESTATE OF ROBERT BERKE, RITA MILLER,
21
                    ANTHONY B. DREWRY, JOSEPH F. DEVANON, LISA MARIE MACCARLEY
22
                    ESQ., EMAHN COUNTS ESQ., SEVAG NIGOGHOSIAN ESQ., CHARLES
23
                    "CHUCK" LOVE COURT MGR., SUSANA CASTANEDA/ SUSANA
24
                    RAMIREZ, SAM PAZ, SONIA MERCADO, JACK K. CONWAY, IV AN
25
                    SHOMERANDDOES 1-10
26                                  (AGAINST ALL DEFENDANTS)
27          37.     Plaintiff refers to paragraphs 1 through 36 above and incorporates them by reference
28   herein as though fully set forth.


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            38.     This action arises Title 42 of the U.S Code,§ 1983, the 8th and the 14th Amendments of
 1
     the United States Constitution, and common law principles and practices that are illegal herein.
 2
            39.     As set forth in the above, Plaintiff was subjected to deprivation of rights for :financial
 3
     gain by Defendants stealing using the courts, acting or pretending to act under the Color of Law and of
 4
     not following the statutes, ordinances, regulations, customs and usages of the Law of Unjted States,
 5
     State of California, with my rights included, but not limited to, privileges and immunities secured to
 6   Plaintiffs by the Constitution and laws of the United States. By reason of the series of aforementioned
 7   acts, the individual Defendants and Does I - l 0, have violated the constitutional rights in-conjunction
 a   of a crime of the Plaintiffs rights which are protected under the 8th and 14th Amendment's prohibited

 9   against depriving a person of a right to be (honestly] represented in a court of law, by now disbarred

10
     attorney Emahn Counts. This violated my Due Process Rights of the law. Plaintiffs allege and charges
     that this wrongful / illegal / criminal conduct of the individual Defendants and Defendant Does 1 - 10,
11
     legally caused Plaintiffs' general and special damages as allowable pursuant to federal law in the
12
     ''Highest" amount according to proof and damages or what the court deems as necessary, along with a
13
     special request for a Bill Of Rights to use the courts, properly; so this Judicial Scam can't happen to
14
     anyone else! Requesting a Judicial "Check List' to be submitted with our complaint to the court and
15
     make sure our rights are not violated in the Bill of Rights to use the courts!
16          40.     At all times herein mentioned Defendants and Does 1 - 10 acted with a deliberate
17   indifference to allowing Plaintiffs' representation by counsel Emahn Counts at trial of February 22,
18   2010 for a predictive and engineered verdict where according to Atty Lisa Marie MacCarley, Jose

19   Castaneda presented "no evidence" at trial, none, nothing! As a result, thereof, Plaintiffs suffered

20
     damages as set forth herein and Plaintiffs are further entitled to an award of Extra Ordinary Punitive
     Damages by applying judicial fraud ''tactics" to just lie and then to denied in the courts! Who comes to
21
     court with no evidence; and this [is] nuts and what the parties want the higher courts to believe!
22
            41.     By virtue of the provisions of 42 U.S.C. Section 1988, Plaintiffs are entitled to and
23
     demand an award of reasonable attorney's fees, pain, suffering, his home being sold by the courts,
24
     homeless, and costs according to proof established to prove my claims, complaint, and charges.
25
                                 SEVENTH CAUSE OF ACTION
26                  VIOLATION OF 42 U.S. CODE SECTION 1983 OF PLAINTIFF AGAINST
                    DEFENDANTS, RITA MILLER, ANTHONY B. DREWRY.JOSEPH F.
27                  DEVANON [off bench since 2011], LISA MARIE MACCARLEY ESQ., EMABN
                    COUNTS ESQ., SEVAG NIGOGHOSIAN ESQ., CHARLES CHUCK COURT
28
                    MGR., SAM PAZ, SONIA MERCADO AND now disbarred Atty. JACK K.

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                    CONWAY AND DOES 1-10
 1
                             (AGAINST ALL DEFENDANTS)
2
            42.     Plaintiff restates, affirms and reiterates Paragraphs 1 through 41 of this complaint and
 3   incorporates them herein by reference, and special circumstances to interrupt, interfere, intrude, by
 4   throwing away my court file to make it harder to Appeal, to protect the dirty Justices on the bench for
 s   crimes against plaintiff of Special Circumstances of "Mental Terrorism". (Your Honor they tried to

 6   sell my house from underneath me, illegally! And retaliated for Whisde Blowing! In addition,

 7
     Attorney Anderson moves to State of Oregon after stealing Property from Probate GP003849)
            43.     At all times herein mentioned Defendants Judge Joseph F. DeVanon, now off the
 8
     Bench, and Court Manager Chuck Love maintained a de facto unconstitutional informal custom or
 9
     pattern and system of permitting, ignoring, and condoning staff to break the law, rules of the court,
10
     policies, and illegal procedures by staff manipulating the document(s) to be filed in Case GC 042105
11
     or the Substitution Of Attorney, MC-50 form as required by law, which was filed as 2-22-2010 and
12
     entered on 2-24-2010 to allow the Judicial to take place. (Which date is the co"ect dated of filing?
13   You can't have two dates on one document!) And which date is the lie, since you can't use both!?
14          44.     At all times Defendants Judge Joseph F. DeVanon; whose off the Bench had a
15   "Fiduciary Duty" to instruct their subordinates to prevent similar acts to other persons, but failed to

16   take steps to violate the rights of the people, and did "Not" properly train, supervise, investigate or
     instruct clerks to stop this practice for bis share of the illegal profits, and as a result, Plaintiffs were
17
     harmed in the manner that resulted in Plaintiffs losing case(s), life-style, and made him homeless. The
18
     manipulation, construction, and engineering of documents filed, entered in court is a common practice
19
     violating the "Chain of Custody Doctrine" as well as the cancelation of hearings for persons
20
     representing themselves, and never giving you notice.
21
            45.     At all times Defendant Joseph F. DeVanon who is off the Bench had a Fiduciary Duty
22
     to protect the Constitutional Rights of Plaintiffs by permitting a Continuation to be used as requested
23   by Plaintiff to clarify .... WHY Emahn Counts did not show up, but "Instead", hired Attorney Sevag
24   Nigoghosian, in a ''bait and switch scam" used in all courts in the state of California to engineer the
25   case for a purchased and predictive verdict. This series of illegal act(s) must be stopped, because it

26   caused irreparable harm and prejudice of the Plaintiffs cases at trial. See ''Bait and Switch" in BS

27
     118244! We the People demand a Filer's Bill of Rights to stop the systemic court corruption.
            46.     At all times Defendants Judge Joseph F. DeV anon, who was kicked off the Bench and
28



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     Atty Lisa Marie MacCarley "engineered" for a 1st Continuation in case after denying Plaintiffs through
 1
     the "Discovery" Process of Motions filed for the January 26, 2010 hearing. (Objection; Why?) Again,
 2
     the record shows and displays that all pleadings, motions, objections filed by Plaintiff were "Denied",
 3
     "Denied", and ''Denied" by Judge Joseph F. DeVanon confirming bias, prejudice, discrimination, and
 4
     extreme hate because I was not white, smart, and was very poorly represented by an attorney that I
 5
     could not afford, but then who sabotages cases to make more money doing your Appeal, and I am
 6   financially ruined through all these cases filed by attorney MacCarley, Mercado and Paz, as agreed "In
 7   a Conspiracy'' to retaliate against me for "Whistle Blowing" on the selling court decisions, by the
 8   sabotaging of cases in court for a bribe.

 9                                     EIGHT, NINE AND TENTH CAUSE OF ACTION

10
                     VIOLATION OF 42 U.S. CODE SECTION 1985, JUDICIAL CONSPIRACY,
                    TITLE 18, 241 & 242 OF PLAINTIFF AGAINST DEFENDANTS, RITA
11
                    MILLER, ANTHONY B. DREWRY, JOSEPH F. DEVANON, USA MARIE
12
                    MACCARLEY ESQ., EMAHN COUNTS ESQ., SEVAG NIGOGHOSIAN ESQ.,
13
                    CHARLES CHUCK COURT MGR., SAM PAZ, SONIA MERCADO, AND now
14
                    disbarred attorney JACK K. CONWAY AND DOES 1-10
15
                                    (AGAINST ALL DEFENDANTS)
16          47.     Plaintiff restates, affirms and reiterates Paragraphs 1 through 46 of this complaint and
17   incorporates them herein by reference, and special circumstances to interrupt, interfere, intrude, by
18   throwing away my court file, to protect the Justice on the bench for crimes against plaintiff.

19          48.     Plaintiff wants to show and display to all the courts that a Civil case in a court of law

20
     that has turned criminal in nature all for a bribe to the justice on the bench, which is also conspiracy to
     violate my rights.
21
            49.     Plaintiff wants to tell, inform, and notify the court that the Courts in California NEVER
22
     use Sentencing Guidelines, which proves and displays that the Court is taking bribes and stealing from
23
     the people. For proof, I was sanctioned almost a million dollars and then I had six million dollars that I
24
     cannot find anymore. Can you help PLEASE me clarify these main points that ruined my life and
25
     caused me irreparable harm? These statements of the millions being part of the Estate were made in
26   open court oflaw to win their cases by the opposing party. Yet, Judges Miller, Drewry, or DeVanon
27   never asked for any proof, certification, or verification and accepted nothing but Judicial Lies by
28   attorneys for bribe.


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               50.     Plaintiff would like to advice and inform the court of two statements that affected the
    1
        Plaintiffs by attorney Samuel Richard Paz and Attorney Sonia Maria Mercado. Paz stated that I forced
    2
        his hand. How? Then. Atty Sonia Mercado stated in open court that my brother Luis left millions in his
    3
        Estate! Please help me to find the millions of dollars, as stated in court, left by my brother. If you can't
    4
        help me find the millions of dollars and you cannot find them, can you please grant me the millions
    5
        back in a judgment that was in the court's custody?
    6          51.     Plaintiff would like to be advised, and inform the court of the "defective" Proof of
    7   Service submitted by Atty Sonia Mercado and Samuel Paz in the following filings for dates to lose:
    8
        03/24/2010                  Request                    to                       Enter                Judgment
    9
        Filed by Attorney for Pltf/Petnr
        03/24/2010         Miscellaneous-Other            (STATEMENT                    OF        DAMAGES           )
1
    °   Filed by Attorney for Pltf/Petnr
11      03/23/2010 Miscellaneous-Other (PLAINTIFFS RESERVATION OF RIGHT TO SEEK PUNITIVE
        DAMAGES                     ON           DEFAULT           JUDGMENT            )
12
        Filed by Attorney for Pltf/Petnr
13      03/23/2010       Declaration         (DECLARATION                  OF           SONI       MERCADO          )
        Filed by Attorney for Pltf/Petnr
14
        03/23/2010 Declaration (DECLARATION OF R. SAMUEL PAZ IN SUPPORT OF DEFAULT
15      JUDGMENT                                                                 )
        Filed by Attorney for Pltf/Petnr
16
        03/22/2010 Notice (PLAINTIFF'S NOTICE OF FILING SONIA MERCADO & ASSOC. CN 100
17      FORMS                                                                       )
18
        Filed by Attorney for Pltf/Petnr
        03/22/2010 Miscellaneous-Other (PLAINTIFF'S RESPONSE TO OSC RE DEFAULT JUDGMENT)
19
        Filed by Attorney for Pltf/Petnr
20      03/22/2010      Partial     Dismissal       (with      Prejudice)             (DOES      1-10    ONLY       )
        Filed by Attorney for Pltf/Petnr
21
        03/22/2010 Miscellaneous-Other (PLAINTIFF'S BRIEF SUMMARY OF THE CASE IN SUPPORT
22      OF                            DEFAULT                   JUDG.                  )
        Filed by Attorney for Pltf/Petnr
23
               52.     Plaintiff demands this Court to examine the Judgment filed by the Court on the date
24
        below, Judgment was to be granted AFTER the Court were to review for the "Completeness" of the
25
        premature Entry of Default where Plaintiff was to have received sanctions. The Court never checked,
26
        nor reviewed the COMPLETENESS of documents filed by Attys Paz and Mercado because the court
27      received a bribe; so, they can win their cases!
28      03/24/2010Judgment Filed by Court


             OREGON COMPLAIN'? FOR CIVJ:L RIGHTS, FINANCI:AL ELDER ABUSE OF FELICITAS Paga 22 of 24




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            53.     Plaintiff demands this court to evaluate the ''uniformity" of the law as was applied in
 1
     case BC 402096 Mercado v. Castaneda and GC 042105 Ramirez v. Castaneda. Why will the court
 2
     allowed a complete stranger, Attorney Shomer or Attorney Berke not on File, to come into a Court
 3
     Proceeding for Atty Mercado v. Castaneda without an MC 50 SOA, or representation form, and in the
 4
     latter case, Ramirez v. Castaneda GC 42105, and then Judge DeVanon would not allowed Emahn
 5
     Counts to represent me at trial, clearly, my representation was hired by the court in the first case and
 6   lost, and in the second case, I was not allowed representation, that I hired on February 11, 201 O! Why
 1   can the court allow who represents Parties? It makes no sense also that I had no evidence for either
 8   case! If the fixing of a boxing match or horse racing is illegal, so the interfering of a Judicial Process to

 9   come to a Predictive Verdict such as these two cases allowed. In Closing, the statement by Atty

10
     Mercado: "apparently Luis Left Millions ... " ruined my life! Please help me find the millions missing
     in the court to be able pay Atty Mercado the almost One Million Dollars awarded illegally by the
11
     court; which was really a payoff.
12
            54.     Plaintiff demands Magistrate Judge Steve Ki~ Central District Court, do Full
13
     Disclosure in his handling of Federal Civil Complaint Estate of Castaneda cases: 18-cv-06795-FMO-
14
     JCx and 19-cv-00736-(PAA-Max) Bait & Switch tactic to set up to lose and violation of Consent
15
     Rights by all parties, and Title 28, USC §636(c )(3) Et Seq. as well as "Identical Rule" by submitting
16   Order and Recommendation after his assignment and Ex-Parte Communication with Atty. Overton.
17   I declare under the penalty of perjury that everything contained in this legal document / complaint to
18   be truthful to the best of my knowledge.

19

20
     Date: June 21, 2020                     'IHt- ~ v u l - ~                  '1ht61 f!,~U.vx-,
21
                                            fio:e Castaneda, aka, James Bl~ USMC
                                     VERIFICATION ( C.C.P. 446 AND 2015.5)
22
            I am a party to this action. The matters stated in the foregoing document are true of my own
23
     knowledge, except as to those matters which are stated on information and belief, and as to those
24
     matters, I believe them to be true. I am the Executor of the Estate of Luis Castaneda and Felicitas
25
     Castaneda and am authorized to make this verification for and on its behalf, and I make this
26   verification for that reason.
21   Date: June 21 , 2020                    ?~~                       f>1tA;   ~ /f~11~Vi;,vG
28                                        Jose Castaneda, AKA, James Bl~USMC


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            WHEREFORE, Plaintiffs pray for judgment against ALL Defendants and each of them as
 1
     follows:
 2
            1.      For Court Fees as provided by law.
 3
            2.      For costs of the suits GP013531 , GP003849, GP013952, GC 042105, GC039459,
 4
     GC039473, GC039743, BS 118244, BC 402096, GC047300 and BC466737 or a total of $1,
 5
     955,000.00.
 6          3.      For a "Work Production Order" in GP013952 filed by Disbarred Attorney and
 7   GP003829 filed by Attorney Jan Walls Anderson and appraised at 2.3 million to prove judicial fraud;
 a   and release of file which includes all contacts between Counsels Samuel R. Paz, Sonia Mercado,

 9   Robert Burke, Lisa Marie MacCarley, Emahn Counts, Sevag Segogoshian, Ivan Shomer, Disbarred

10
     Attorney Jack K. Conway and Jan Walls Anderson, who resigned the practice of law in Oregon where
     she moved with the Estate property that included a $450,000.00 as she falsely claimed there was no
11
     property on hand for distribution. The Fraud has been uncovered on July 11, 2019 by Court Clerk Greg
12
     Blair surrendering a Lost Volume of GP003849!
13
            4.      For Damages by all Defendants in pursuing a Pseudo VL that was denied by Court of
14
     Appeals in BC402096, The $996,002.45 intended to "silence" Plaintiff for exposing the Widespread
15
     Systemic Court Rampant Epidemic of Corruption.
16          5.      For punitive damages, for Jack K. Conway to be placed under oath and answer for
17   questions above as well as surrender all filed in his possession purs. to CA Supreme Court Rule 9-20.
18          6.      For such other and further relief as the court may deem proper and just.
19          7.      For the impeachment of Jack Kenneth Conway, Lisa Marie MacCarley, Sonia Maria

20
     Mercado, Samuel Richard Paz, Ivan Shomer, Emahn Counts testimony presented in cases in Los
     Angeles Superior Court, Stanley Mosk above listed. Or, Your Honor, as they say in the Military ... to
21
     Put up or Shut Up! Produce their evidence that's not manufactured to support the lies in court that
22
     "Forced" me to lose my case. Let's start with the testimony of 6 million in Buelna v. Castaneda 2005!
23
     Respectfully Submitted,
24

25
     Dated: June 21, 2020
26                                                 ~~                         ~u~ f 1u17~tl
27                                              '1se Castaneda, aka James Blume USMC
                                                 Per Court Order of Judge Daniel J. Buckley Dept 1
28



          OREGON COMPLAINT FOR C::rv:tL llGHTS, F:rNANC:tAL ELDER ABUSE OJ!' J!'EL:IC:ITAS Page 24 of 24
